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         Case 1:17-cv-01304-ELR Document 19 Filed 10/30/17 Page 2 of 3



=XaR^}==j "^[Dd=jj X5:= mF= $(.j z5D= 5[; G^td SKXKm5mK_[j X5[;5m_d


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8^tdn zG=[ 5[ =XaS^}== 6dL[Dj 5 bdLx5n= 58nL^[ ?^d 658Q z5E=k audkt5\n n^ 


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X^d= SLQ=V} m^ d=B=8n 5 d=5k^[56S= 8^Xad^XLj= ^? <Lkaum=; Ljjt=k nG5[ 5 X=d=


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           >DBGR)@R;^a R7/a D)GU8/Oa "/RR</>/@Ra 5G//>/@Ra )Ra 8OOW/a 8Oa B@;^a +/R[//@a

     ;)8@R822a )OOB@-G)a B@/Oa ;)8@R822a "7)\@R7)a 8O)a W^;)Ga )@-a /2/@-)@ROa &B,	a



a )Ra (a      4/Ga G/Y8/\8@5a R7/a D)GR8/Oa B9ASa BS8B@a RBa DDHBY/a "/RR;/>/@Ra

5G//>/@Sa '`(a R7/a BWGRa 3@-Oa R7/G/a 8Oa )a +B@)a 3-/a -8ODWR0a G/5)G-8@5a ,;)8?Oa )G8O8@5a

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G0OB;WR8B@a RBa R78Oa ),R8B@a ;R7CW57a /2/@-)@RPa -0@^a                    <)8@R822Oa );;/5)R8B@Oa B2a

\GB@5-B8@5a R7/a E)N8/Pa /@6)6/-a 8@a )@a )KP;/@6R7a P/RR;/?/@Ra @/6BR8)R8B@a )@-a

/Z/@RW);=_a )5I//-a WEB@a R/KOa RBaG/OB;Y0aR78Oa-8OFWR/a


           ,,BI-8@5;^a R71a BWITa  R7/a D)GR80Oa B8@Ra BR8B@a RBa EDGBY/a

"/RR=/>/@Ra 5G//>/@Ra &B,a               
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5G/0?/@Ra +0R\//@a            ;)8@R822a )OPB@-G)a B@/Pa        ;)8@R822a "7)]@R7)a 8O)a W^;)Ia


)@-a /2/@-)@RO	a          WGOW)@Ra RBa R7/a D)GR8/Oa BR8B@a R7/a BWNa 	
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	 R78Oa         )^aC2a ,RB+/Ga 

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                                                           BGR7/La8ORG8,Ra B2a /BJ58)a


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(b5V[K25b ':5b M[SVb S5HAK2Ub X:5b P+SX>5Ub V<+Wb /E+>JUb +S>U>L9b [L25Sb V:5b !%b /+Lb -5b 
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